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                                       15
                                                                  UNITED STATES DISTRICT COURT
          310.556.1801
          Polsinelli LLP




                                       16
                                                               SOUTHERN DISTRICT OF CALIFORNIA
                                       17

                                       18   Les Ferguson, an individual                      Case No. 3:18-CV-01529-JLS-MDD
                                       19                    Plaintiff,                      DEFENDANT’S ANSWER TO
                                                                                             COMPLAINT
                                       20            v.
                                       21   CVS Pharmacy, Inc., a corporation,
                                                                                             Complaint Filed: July 5, 2018
                                       22                    Defendants.
                                       23

                                       24

                                       25            Defendant CVS Pharmacy, Inc. (“Defendant” or “CVS”), by and through its
                                       26   undersigned counsel, hereby files its Answer to the Complaint by Plaintiff Les
                                       27   Ferguson (“Plaintiff”) as follows:
                                       28

                                                                              ANSWER TO COMPLAINT
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   1            1.   In response to paragraph 1 of the Complaint, Defendant admits that
   2   Plaintiff purports to bring a putative class action involving Algal-900 DHA (the
   3   “Product”), which is marketed and sold by Defendant.             Defendant denies the
   4   remaining allegations of paragraph 1.
   5            2.   In response to paragraph 2 of the Complaint, Defendant admits that it
   6   sells the Product. Defendant denies the remaining allegations of paragraph 2.
   7            3.   In response to paragraph 3 of the Complaint, Defendant affirmatively
   8   alleges that the referenced “2014 report” and “NIH study” speak for themselves.
   9   Defendant denies the remaining allegations of paragraph 3.
  10            4.   Defendant denies the allegations in paragraph 4 of the Complaint.
  11            5.   Defendant lacks sufficient information to form a belief as to the truth or
  12   falsity of the allegations set forth in paragraph 5 of the Complaint and therefore denies
  13   same.
  14            6.   In response to paragraph 6 of the Complaint, Defendant admits that
  15   Plaintiff seeks injunctive and compensatory relief for himself and the putative class.
  16   Defendant denies the remaining allegations of paragraph 6.
  17   II.      JURISDICTION AND VENUE
  18            7.   Answering paragraph 7 of the Complaint, Defendant does not dispute,
  19   at this time, that this Court has subject matter jurisdiction. Defendant denies the
  20   remaining allegations of paragraph 7.
  21            8.   Answering paragraph 8 of the Complaint, Defendant does not dispute,
  22   at this time, that venue is proper in this Court. Defendant denies the remaining
  23   allegations of paragraph 8.
  24   III.     PARTIES
  25            9.   In response to paragraph 9 of the Complaint, Defendant responds that it
  26   is without sufficient knowledge or information to form a belief as to the truth of
  27   such allegations and on that basis denies each and every such allegation.
  28
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   1            10.   In response to paragraph 10 of the Complaint, Defendant denies that it
   2   is a corporation organized and existing under the laws of the State of Delaware.
   3   Defendant affirmatively alleges that is a corporation organized and existing under
   4   the laws of the State of Rhode Island. Defendant admits that its principal place of
   5   business is located at One CVS Drive, Woonsocket, Rhode Island; that it is
   6   engaged in the retail sale of prescription drugs and a wide assortment of general
   7   merchandise, including over-the-counter drugs and dietary supplements; that it has
   8   approximately 9,800 retail locations in the United States; and that it sells certain
   9   products online at www.cvs.com. Defendant denies the remaining allegations of
  10   paragraph 10.
  11            11.   In response to paragraph 11 of the Complaint, Defendant admits that it
  12   sold the Product in the United States, including in the State of California. Defendant
  13   denies the remaining allegations of paragraph 11.
  14   IV.      FACTUAL BACKGROUND
  15            12.   In response to paragraph 12 of the Complaint, Defendant admits that
  16   Omega-3 fatty acids are polyunsaturated fatty acids, and that they include alpha-
  17   linolenic acid (ALA), eicosapentaenoic acid (EPA), and docosahexaenoic acid
  18   (DHA). Defendant further admits that ALA is found in flaxseed, soybean, and
  19   canola oils and that DHA and EPA are found in fish and other seafood. Defendant
  20   denies the remaining allegations of paragraph 12.
  21            13.   In response to paragraph 13 of the Complaint, Defendant admits that
  22   Omega-3 fatty acids are not able to be produced by the human body and that foods
  23   and dietary supplements are a way to increase the levels of omega-3 fatty acids in
  24   your body. Defendant denies the remaining allegations of paragraph 13.
  25            14.   In response to paragraph 14 of the Complaint, Defendant admits that
  26   Omega-3 fatty acids are found in foods, including fish, vegetables, vegetable oils,
  27   and nuts. Defendant lacks sufficient information to form a belief as to the truth or falsity
  28   of the allegations set forth in paragraph 14 of the Complaint regarding the statements by
                                                    3
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   1   the National Institutes of Health (“NIH”) and therefore denies same. Defendant denies
   2   the remaining allegations of paragraph 14.
   3            15.   Defendant lacks sufficient information to form a belief as to the truth or
   4   falsity of the allegations set forth in paragraph 15 of the Complaint and therefore denies
   5   same.
   6            16.   Answering paragraph 16 of the Complaint, Defendant admits that it
   7   sells the Product. Defendant affirmatively alleges that the Product labels speak for
   8   themselves. Defendant denies the remaining allegations of paragraph 16.
   9            17.   Defendant denies the allegations of paragraph 17.
  10            18.   Defendant denies the allegations of paragraph 18.
  11            19.   Defendant denies the allegations of paragraph 19.
  12            20.   Defendant denies the allegations of paragraph 20 of the Complaint.
  13            21.   In response to paragraph 21 of the Complaint, Defendant affirmatively
  14   alleges that the referenced study entitled “Beneficial effects of docosahexaenoic acid
  15   on cognition in age-related cognitive decline,” by Karin Yurko-Mauro et al., speaks
  16   for itself. Defendant denies the remaining allegations of paragraph 21.
  17            22.   In response to paragraph 22 of the Complaint, Defendant affirmatively
  18   alleges that the documents cited in footnotes 3 and 4 of the Complaint speak for
  19   themselves. Defendant denies the remaining allegations of paragraph 22.
  20            23.   In response to paragraph 23 of the Complaint, Defendant affirmatively
  21   alleges that the document cited in footnote 4 of the Complaint speaks for itself.
  22   Defendant lacks sufficient information to form a belief as to the truth or falsity of the
  23   remaining allegations set forth in paragraph 23 of the Complaint and therefore denies
  24   same.
  25            24.   Defendant denies the allegations of paragraph 24 of the Complaint.
  26            25.   In response to paragraph 25 of the Complaint, Defendant affirmatively
  27   alleges that the referenced article, cited in footnote 5, speaks for itself. Defendant
  28   denies the remaining allegations of paragraph 25.
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   1            26.   In response to paragraph 26 of the Complaint, Defendant affirmatively
   2   alleges that the study and review, cited in footnotes 6 and 7 of the Complaint speak
   3   for themselves. Defendant denies the remaining allegations of paragraph 26.
   4            27.   Defendant denies the allegations of paragraph 27 of the Complaint.
   5            28.   Paragraph 28 of the Complaint asserts legal conclusions to which no
   6   response is required. To the extent any response is required, Defendant denies the
   7   allegations of paragraph 28.
   8            29.   Paragraph 29 of the Complaint asserts legal conclusions to which no
   9   response is required. To the extent any response is required, Defendant denies the
  10   allegations of Paragraph 29.
  11            30.   Paragraph 30 of the Complaint asserts legal conclusions to which no
  12   response is required. To the extent any further response is required, Defendant
  13   denies the allegations of Paragraph 30.
  14   V.       ECONOMIC INJURY
  15            31.   Defendant lacks sufficient information to form a belief as to the truth or
  16   falsity of the allegations set forth in paragraph 31 of the Complaint and therefore denies
  17   same.
  18            32.   Defendant denies the allegations of paragraph 32 of the Complaint.
  19            33.   Defendant denies the allegations of Paragraph 33 of the Complaint.
  20   VI.      CLASS ALLEGATIONS
  21            34.   In response to paragraph 34 of the Complaint, Defendant admits that
  22   Plaintiff purports to bring a putative class action on behalf of himself and California
  23   residents that purchased the Product from CVS. Defendant denies that Plaintiff is
  24   entitled to class certification with respect to his claims against Defendant. Defendant
  25   denies any remaining allegations of paragraph 34.
  26            35.   In response to paragraph 35 of the Complaint, Defendant denies that
  27   Plaintiff is entitled to class certification with respect to his current or future claims
  28   against Defendant. Defendant denies any remaining allegations of paragraph 35.
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   1            36.    In response to paragraph 36 of the Complaint, Defendant denies that
   2   Plaintiff is entitled to class certification with respect to his current or future claims
   3   against Defendant. Defendant denies any remaining allegations of paragraph 36.
   4            37.    In response to Paragraph 37 of the Complaint, Defendant denies that
   5   Plaintiff is entitled to class certification with respect to his current or future claims
   6   against Defendant. Defendant denies any remaining allegations of paragraph 37.
   7            38.    In response to paragraph 38 of the Complaint, Defendant denies that
   8   Plaintiff is entitled to class certification with respect to his current or future claims
   9   against Defendant. Defendant denies any remaining allegations of paragraph 38.
  10            39.    In response to paragraph 39 of the Complaint, Defendant denies that
  11   Plaintiff is entitled to class certification with respect to his current or future claims
  12   against Defendant. Defendant denies any remaining allegations of paragraph 39.
  13            40.    In response to paragraph 40 of the Complaint, Defendant denies that
  14   Plaintiff is entitled to class certification with respect to his current or future claims
  15   against Defendant. Defendant denies any remaining allegations of paragraph 40.
  16            41.    In response to paragraph 41 of the Complaint, Defendant denies that
  17   Plaintiff is entitled to class certification with respect to his current or future claims
  18   against Defendant. Defendant denies any remaining allegations of paragraph 41.
  19                                          FIRST COUNT
  20                    (Violation of Cal. Bus. & Prof. Code §§ 17500, et seq.—
  21                        Untrue, Misleading and Deceptive Advertising)
  22            42.    Defendant incorporates by reference the preceding paragraphs of this
  23   Answer as if fully set forth herein.
  24            43.    Answering Paragraph 43, Defendant admits that it offered the Product
  25   for sale.      Defendant denies any remaining allegations in paragraph 43 of the
  26   Complaint.
  27            44.    Defendant denies the allegations in paragraph 44 of the Complaint.
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   1            45.   Paragraph 45 of the Complaint contains legal conclusions to which no
   2   response is required. To the extent any response is required, Defendant denies the
   3   allegations of paragraph 45.
   4            46.   Defendant denies the allegations in paragraph 46 of the Complaint.
   5            47.   Defendant denies the allegations in paragraph 47 of the Complaint.
   6            48.   Defendant lacks sufficient information to form a belief as to the truth or
   7   falsity of the allegations set forth in paragraph 48 of the Complaint and therefore denies
   8   same.
   9            49.   Defendant denies the allegations in paragraph 49 of the Complaint.
  10            50.   Defendant denies the allegations in paragraph 50 of the Complaint.
  11            51.   Defendant denies the allegations in paragraph 51 of the Complaint.
  12            52.   Answering paragraph 52 of the Complaint, Defendant admits that
  13   Plaintiff seeks injunctive relief. Defendant denies the remaining allegations of
  14   paragraph 52.
  15                                     SECOND COUNT
  16    (Violation of Cal. Bus. & Prof. Code §§ 1750, et seq.—Misrepresentation of a
  17        Product’s standard, quality, sponsorship, approval, and/or certification)
  18            53.   Defendant incorporates by reference the preceding paragraphs of this
  19   Answer as if fully set forth herein.
  20            54.   Paragraph 53 of the Complaint contains legal conclusions to which no
  21   response is required. To the extent any response is required, Defendant denies the
  22   allegations of paragraph 53.
  23            55.   Paragraph 54 of the Complaint contains legal conclusions to which no
  24   response is required. To the extent any response is required, Defendant denies the
  25   allegations of paragraph 54.
  26            56.   Paragraph 55 of the Complaint contains legal conclusions to which no
  27   response is required. To the extent any response is required, Defendant denies the
  28   allegations of Paragraph 55.
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   1            57.   Paragraph 56 of the Complaint contains legal conclusions to which no
   2   response is required. To the extent any response is required, Defendant denies the
   3   allegations of Paragraph 56.
   4            58.   Defendant denies the allegations in paragraph 57 of the Complaint.
   5            59.   Defendant denies the allegations in paragraph 58 of the Complaint.
   6            60.   Defendant denies the allegations in paragraph 59 of the Complaint.
   7            61.   Defendant denies the allegations in paragraph 60 of the Complaint.
   8            62.   Answering paragraph 61 of the Complaint, Defendant admits that
   9   Plaintiff is seeking injunctive relief. Defendant denies any remaining allegations in
  10   paragraph 61.
  11            63.   Answering paragraph 62 of the Complaint, Defendant admits that it
  12   received notice of Plaintiff’s claims under the CLRA.
  13            64.   Answering paragraph 63 of the Complaint, Defendant affirmatively
  14   alleges that it responded to Plaintiff’s CLRA notice within 30 days. Defendant
  15   denies any remaining allegations in paragraph 63 of the Complaint.
  16                                          THIRD COUNT
  17           (Violation of Cal. Bus. & Prof. Code §§ 17200, eq seq.—Unfair Business
  18                                      Acts and Practices)
  19            65.   Defendant incorporates by reference the preceding paragraphs of this
  20   Answer as if fully set forth herein.
  21            66.   Defendant denies the allegations in paragraph 65 of the Complaint.
  22            67.   Defendant denies the allegations in paragraph 66 of the Complaint.
  23            68.   Defendant denies the allegations in paragraph 67 of the Complaint.
  24            69.   Defendant denies the allegations in paragraph 68 of the Complaint.
  25            70.   Defendant denies the allegations in paragraph 69 of the Complaint.
  26            71.   Defendant denies the allegations in paragraph 70 of the Complaint.
  27            72.   Defendant denies the allegations in paragraph 71 of the Complaint.
  28            73.   Defendant denies the allegations in paragraph 72 of the Complaint.
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   1                                       FOURTH COUNT
   2        (Violation of Cal. Bus. & Prof. Code §§ 17200, et seq.—Fraudulent Business
   3                                      Acts and Practices)
   4            74.   Defendant incorporates by reference the preceding paragraphs of this
   5   Answer as if fully set forth herein.
   6            75.   Defendant denies the allegations in paragraph 74 of the Complaint.
   7            76.   Defendant denies the allegations in paragraph 75 of the Complaint.
   8            77.   Defendant denies the allegations in paragraph 76 of the Complaint.
   9            78.   Defendant denies the allegations in paragraph 77 of the Complaint.
  10                                          FIFTH COUNT
  11                   (Violation of Cal. Bus. & Prof. Code §§ 17200, et seq.—
  12                            Unlawful Business Acts and Practices)
  13            79.   Defendant incorporates by reference the preceding paragraphs of this
  14   Answer as if fully set forth herein.
  15            80.   Defendant denies the allegations in paragraph 80 of the Complaint.
  16            81.   Defendant denies the allegations in paragraph 81 of the Complaint.
  17            82.   Paragraph 82 of the Complaint contains legal conclusions to which no
  18   response is required. To the extent any response is required, Defendant denies the
  19   allegations of paragraph 82.
  20            83.   Paragraph 83 of the Complaint contains legal conclusions to which no
  21   response is required. To the extent any response is required, Defendant denies the
  22   allegations of Paragraph 83.
  23            84.   Defendant denies the allegations in paragraph 84 of the Complaint.
  24            85.   Defendant denies the allegations in paragraph 85 of the Complaint.
  25            86.   Defendant denies the allegations in paragraph 86 of the Complaint.
  26            87.   Paragraph 87 of the Complaint contains legal conclusions to which no
  27   response is required. To the extent any response is required, Defendant denies the
  28   allegations of paragraph 87.
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   1            88.   Defendant denies the allegations in paragraph 88 of the Complaint.
   2            89.   Defendant denies the allegations in paragraph 89 of the Complaint.
   3            90.   Defendant denies the allegations in paragraph 90 of the Complaint.
   4            91.   Defendant denies any allegation not expressly admitted herein.
   5                                AFFIRMATIVE DEFENSES

   6            As for its affirmative defenses to all causes of action purported to be set forth

   7   in Plaintiff’s Complaint, Defendant alleges as follows. The Complaint does not

   8   describe the claims against Defendant with sufficient particularity to enable

   9   Defendant to determine what additional defenses it may have.                Accordingly,

  10   Defendant reserves the right to amend this Answer as appropriate and to assert all

  11   additional defenses once the claims and/or facts become clear.

  12                             FIRST AFFIRMATIVE DEFENSE

  13                              (Failure to State Cause of Action)

  14            Each and every purported cause of action of the Complaint alleged against

  15   Defendant fails to state facts sufficient to constitute a cause of action against it.

  16                           SECOND AFFIRMATIVE DEFENSE

  17                                           (Standing)

  18            Plaintiff lacks standing to assert any claims against Defendant under the

  19   Business and Professions Code because Plaintiff failed to sufficiently plead an

  20   injury in fact.

  21                            THIRD AFFIRMATIVE DEFENSE

  22                                     (Estoppel and Laches)
  23            Plaintiff’s claims and those of the putative class members are barred by

  24   estoppel, promissory or otherwise and the doctrine of laches.

  25                             FOURTH AFFIRMATIVE DEFENSE

  26                                    (Statute of Limitations)

  27            Plaintiff’s claims and those of the putative class members are barred in

  28   whole or in part by the applicable statutes of limitations, to the extent the alleged
                                                    10
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   1   conduct took place outside the applicable limitations period. California’s Unfair
   2   Competition Law (“UCL”) provides that any action must be brought within four
   3   years after the action accrues. The UCL is governed by common law accrual rules
   4   to the same extent as any other statute.” Tryeh v. Canon Bus. Solutions, Inc., 55
   5   Cal.4th 1185, 1196 (Cal. 2013). “[J]ust like common law claims challenging
   6   fraudulent conduct, a UCL deceptive practices claim should accrue only when a
   7   reasonable person would have discovered the factual basis for a claim.” Id. at 1195
   8   (citation omitted). The statute of limitations begins to run based upon “inquiry”
   9   notice – when the party is in possession of sufficient facts to suspect wrongdoing –
  10   rather than actual knowledge of the underlying facts or a legal theory. State of
  11   California ex rel. Metz v. CCC Information Services, Inc., 149 Cal. App. 4th 402,
  12   417-18 (Cal. App. 2d Dist. 2007). Nonetheless, Plaintiff fails to allege when he or
  13   any other member of the putative class purchased the Product.
  14                             FIFTH AFFIRMATIVE DEFENSE
  15       (Acts of Third Parties/Other Defendants, Class Members and/or Plaintiff)
  16            If Plaintiff and/or the putative class did sustain any damages as alleged in the
  17   Complaint, that damage, injury or loss, if any, was proximately caused or
  18   contributed to, in whole or in part, by the conduct of Plaintiff, putative class
  19   members or other persons or entities (whether or not a party to this lawsuit) other
  20   than Defendant.
  21                             SIXTH AFFIRMATIVE DEFENSE
  22                                     (Adequate Remedy)
  23            Plaintiff and the putative class allege that they were damaged because they
  24   purchased the Product based on the representations of Defendant. The Complaint,
  25   its causes of action, and its remedies for injunctive relief and restitution are barred
  26   in light of the fact that plaintiff and/or putative class members have a legal remedy,
  27   specifically money damages.         Further, Plaintiff and the putative class are not
  28   entitled to equitable relief that duplicates any legal relief they may receive. See,
                                                    11
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   1   e.g. Guifu Li v. A Perfect Franchise, Inc., 2011 WL 2971046, at *5 (N.D. Cal.
   2   2011).
   3                           SEVENTH AFFIRMATIVE DEFENSE
   4                                            (No Duty)
   5            Plaintiff’s claims are barred because Defendant was under no duty to disclose
   6   any of the purported information Plaintiffs allege was not disclosed.
   7                            EIGHTH AFFIRMATIVE DEFENSE
   8                                       (Proximate Cause)
   9            Defendant is not liable to Plaintiff, in whole or in part, because the losses that
  10   Plaintiff allegedly suffered was not proximately caused by any act or omission of
  11   Defendant.
  12                             NINTH AFFIRMATIVE DEFENSE
  13                                     (Primary Jurisdiction)
  14            Plaintiff’s Complaint and each and every purported cause of action therein
  15   should be dismissed pursuant to the doctrine of primary jurisdiction because
  16   Plaintiff’s claims raise issues that should be addressed in the first instance by the
  17   United States Food and Drug Administration.
  18                            TENTH AFFIRMATIVE DEFENSE
  19                                          (Preemption)
  20            Plaintiff’s claims are preempted by federal law.
  21                          ELEVENTH AFFIRMATIVE DEFENSE
  22                                         (Res Judicata)
  23            Plaintiff’s claims are barred by the doctrines of res judicata and/or collateral
  24   estoppel, pending the settlement of a related class action lawsuit that involves the
  25   same putative classes Plaintiff purports to represent here.
  26                           TWELFTH AFFIRMATIVE DEFENSE
  27                                    (Personal Jurisdiction)
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   1            Plaintiff’s claims are barred for lack of personal jurisdiction. (Bristol-Myers
   2   Squibb Co. v. Superior Court of California, San Francisco County,137 S. Ct. 1773
   3   (2017)).
   4            CVS reserves the right to add such further defenses as may be warranted by

   5   the information developed through discovery.

   6                                            PRAYER

   7            WHEREFORE, having fully answered the Complaint, Defendant respectfully

   8   prays as follows:

   9            1.    That Plaintiff takes nothing by way of his Complaint;

  10            2.    That judgment be entered in favor of Defendant and against Plaintiff on

  11   the Complaint as a whole;

  12            3.    That Defendant be awarded attorneys’ fees and costs of suit as may be

  13   appropriate under applicable statutes;

  14            4.    That the Court award Defendant such other relief as the Court may

  15   deem appropriate.

  16                                       JURY DEMAND

  17            Defendant demands a trial by jury on any of Plaintiff’s claims triable to a jury.

  18

  19   Dated: October 26, 2018                            POLSINELLI LLP
  20
                                                          /s/ Noel Cohen
  21                                              By:      Noel S. Cohen
  22                                                      Attorneys for Defendant CVS
                                                          Pharmacy, Inc.
  23

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                                                    13
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   1                              CERTIFICATE OF SERVICE
   2   STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO:
   3         At the time of service, I was over 18 years of age and not a party to this
   4   action. I am employed at Polsinelli LLP in the County of Los Angeles, State of
       California. My business address is 2049 Century Park East, Suite 2900, Los
   5   Angeles, California, 90067.
   6
             On October 26, 2018, I served true copies of the following document(s)
   7   described as
   8
                DEFENDANT CVS PHARMACY, INC.’S ANSWER TO PLAINTIFF’S
   9            COMPLAINT
  10
              BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  11   the document(s) with the Clerk of the Court by using the CM/ECF system.
  12   Participants in the case who are registered CM/ECF users will be served by the
       CM/ECF system. Participants in the case who are not registered CM/ECF users will
  13   be served by mail or by other means permitted by the court rules.
  14
            I declare under penalty of perjury under the laws of the United States of
  15   America that the foregoing is true and correct.
  16
                Executed on October 26, 2018, at Los Angeles, California.
  17

  18                                                   /s/ Jill Serena
                                                       Jill Serena
  19

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                                                  14
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